                         Case 1-20-44188-ess               Doc 1        Filed 12/06/20           Entered 12/06/20 22:01:06



Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                The Golden Group Realty Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  70 South 8 Street
                                  Brooklyn, NY 11249
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Kings                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                        Case 1-20-44188-ess                      Doc 1      Filed 12/06/20           Entered 12/06/20 22:01:06

Debtor    The Golden Group Realty Inc.                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                               Case number
                                                 District                                 When                               Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     REVACH VENTURE LLC                                           Relationship             Affiliate
                                                            Eastern Distrct of New
                                                 District   York                   When           9/30/20                Case number, if known    20-43534

Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                    Case 1-20-44188-ess           Doc 1       Filed 12/06/20         Entered 12/06/20 22:01:06

Debtor   The Golden Group Realty Inc.                                               Case number (if known)
         Name




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                  page 3
                      Case 1-20-44188-ess                   Doc 1       Filed 12/06/20            Entered 12/06/20 22:01:06

Debtor   The Golden Group Realty Inc.                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                      Case 1-20-44188-ess                   Doc 1        Filed 12/06/20             Entered 12/06/20 22:01:06

Debtor    The Golden Group Realty Inc.                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 6, 2020
                                                  MM / DD / YYYY


                             X   /s/ Samuel Guttman                                                       Samuel Guttman
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   sole shareholder




18. Signature of attorney    X   /s/ FRED B. RINGEL                                                        Date December 6, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 FRED B. RINGEL
                                 Printed name

                                 ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK P.C.
                                 Firm name

                                 875 THIRD AVENUE
                                 New York, NY 10022
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 603-6300                Email address



                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
        Case 1-20-44188-ess        Doc 1     Filed 12/06/20   Entered 12/06/20 22:01:06




                        UNANIMOUS WRITTEN CONSENT
                                  OF THE
            BOARD OF DIRECTORS OF THE GOLDEN GROUP REALTY INC.


Dated: As of December 6, 2020.
         Samuel Guttman (the “Director”) constitutes all of the directors of the Board of Directors
of The Golden Group Realty Inc. (the “Golden Group”), does hereby waive any required notice
and unanimously consent to the following resolutions as if same had been adopted at a duly
convened joint meeting of all of the Directors of The Golden Group and does hereby declare that
said actions shall be effective as of the date hereof:
        NOW, BE IT RESOLVED, that Samuel Guttman is authorized to take all necessary steps to
effectuate The Golden Group’s restructuring, including, but not limited to the filing of a Chapter
11 petition on behalf of The Golden Grup and to manage The Golden Group during the chapter
11 proceeding as Chief Financial Officer; and be if further

        RESOLVED, that The Golden Group is authorized to retain the firm of Robinson Brog
Leinwand Greene Genovese & Gluck P.C. as legal counsel for The Golden Group under a
general retainer, in addition to hiring other such special counsel as may hereafter become
necessary or proper with a view to the successful conclusion of such Chapter 11 case; and it be
further

        RESOLVED, that this Unanimous Written Consent may be executed in any number of
counterparts, each of which shall be an original, but such counterparts shall collectively
constitute one and the same instrument.

       IN WITNESS WHEREOF, the Director has duly executed this Unanimous Written Consent of
the Directors of The Golden Group to be effective as of the date first written above.


_/s/ Samuel Guttman___
Samuel Guttman




{01080924.DOC;1 }
         Case 1-20-44188-ess           Doc 1      Filed 12/06/20   Entered 12/06/20 22:01:06




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X

In re:
                                                                        Chapter 11

THE GOLDEN GROUP REALTY INC.,                                           Case No.:

                                    Debtor.
---------------------------------------------------------X


                                     DECLARATION PURSUANT
                                      TO LOCAL RULE 1007-4

         Samuel Guttman, hereby declares under penalty of perjury that the following statements

are true and correct:

          1.     I am the sole shareholder of The Golden Group Retail Inc. (the “Debtor”) and am

fully familiar with the facts set forth herein.

          2.     I submit this declaration in accordance with Local Bankruptcy Rule 1007-4 in

support of the Debtor’s filing of a voluntary petition under Chapter 11 of Title 11 of the United

States Code (the “Bankruptcy Code”).

          3.     The Debtor is a corporation currently under contract purchase the real property

located at 90 Wauregan Road, Killingly, Connecticut (the “Property”). The Property is currently

owned by Siri Manufacturing Co. Inc. (“Seller”). Debtor and Seller entered into a Commercial

Purchase and Sale Agreement dated October 2, 2020 (the “Contract”) to sell the Property to the

Debtor for a purchase price of $2,400,000. The closing date was scheduled for December 7,

2020 with such closing to be time of the essence.

          4.     The Debtor's filing was precipitated by the Debtor’s need for additional time to

consummate the Contract with the Seller and to avoid losing its contract deposit of $120,000.




{01080876.DOC;2 }392093
      Case 1-20-44188-ess         Doc 1     Filed 12/06/20       Entered 12/06/20 22:01:06




         5.    The Debtor’s case is being commenced in order for it to exercise its rights under

the Bankruptcy Code in order to preserve its position as a contract vendee under the Contract

         6.    No pre-petition committee was organized prior to the Order for relief.

         7.    No property of the Debtor is in the possession and control of a receiver.

         8.    The purpose of filing this petition is to preserve the assets of the Debtor and be in

a position to close on the Contract within 60 days from the Petition Date.

Dated: December 6, 2020



                                      THE GOLDEN GROUP REALTY INC.


                                      By:/s/ Samuel Guttman        ___
                                      Samuel Guttman, Sole Shareholder




                                          {01080876.DOC;2 }-2-
392093
                       Case 1-20-44188-ess                           Doc 1    Filed 12/06/20     Entered 12/06/20 22:01:06




                                                               United States Bankruptcy Court
                                                                      Eastern District of New York
 In re      The Golden Group Realty Inc.                                                                   Case No.
                                                                                    Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


        The above named debtor(s) or attorney for the debtor(s) hereby verify that the attached matrix (list of
creditors) is true and correct to the best of their knowledge.




 Date:       December 6, 2020                                            /s/ Samuel Guttman
                                                                         Samuel Guttman/sole shareholder
                                                                         Signer/Title

 Date: December 6, 2020                                                  /s/ FRED B. RINGEL
                                                                         Signature of Attorney
                                                                         FRED B. RINGEL
                                                                         ROBINSON BROG LEINWAND GREENE GENOVESE & GLUCK
                                                                         P.C.
                                                                         875 THIRD AVENUE
                                                                         New York, NY 10022
                                                                         (212) 603-6300




USBC-44                                                                                                                       Rev. 9/17/98


Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
    Case 1-20-44188-ess   Doc 1   Filed 12/06/20   Entered 12/06/20 22:01:06




x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




                   CORP. COUNSEL FOR NYC
                   100 CHURCH STREET
                   New York, NY 10007


                   David Meisels
                   170 Rodney Street
                   Brooklyn, NY 11211


                   Herman Meisels
                   170 Rodney Street
                   Brooklyn, NY 11211


                   INTERNAL REVENUE SERVICE
                   PO BOX 7346
                   Philadelphia, PA 19101-7346


                   Joseph J. Fried, Esq.
                   194 Marian Court
                   Lakewood, NJ 08701


                   NY STATE DEPT. OF FINANCE
                   ATTN: BANKRUPTCY SPECIAL
                   PO BOX 5300
                   Albany, NY 12205


                   NYC DEPT. OF FINANCE
                   345 ADAMS STREET, 3RD FL.
                   ATTN: LEGAL AFFAIRS
                   Brooklyn, NY 11201


                   OFFICE OF THE ATY GENERAL
                   28 Liberty St.
                   New York, NY 10005


                   Siri Manufacturing Co.
                   Siri Wire c/o Robert Bond
                   411 Pomfret Road
                   Brooklyn, CT 06234


                   Siri Manufacturing Co.
                   411 Pomfret Road
                   Brooklyn, CT 06234
Case 1-20-44188-ess   Doc 1   Filed 12/06/20   Entered 12/06/20 22:01:06




               St. Onge & Brouillard
               P.O. Box 550
               Attn: Mark Brouillard
               Putnam, CT 06260


               US ATTY OFFICE - EDNY
               BANKRUPTCY PROCESSING
               271-A CADMAN PLAZA EAST
               ATTN: ARTEMIS LEKAKIS
               Brooklyn, NY 11201


               Yisroel Rosenberg
               214 Haverstraw Road
               Suffern, NY 10901


               Yoel Friedman
               185 Wilson Street
               Brooklyn, NY 11211
